Case 2:90-cv-00520-KJM-SCR   Document 3436-4   Filed 12/23/08   Page 1 of 5




                  EXHIBIT II Part 2
Case 2:90-cv-00520-KJM-SCR                     Document 3436-4          Filed 12/23/08        Page 2 of 5



            on     the number of people that can be housed in that jail?
       2                      (a)    Identify all DOCUMENTS which relate to YOUR answer.
       3                      (b)Identify all PERSONS whom YOU believe or suspect have
      4     information to support YOUR answer.
       5    RESPONSE TO INTERROGATORY NO. 3:
       6              In addition to the General Objections stated above, Intervenor-Defendant objects
      7     to.this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
       8    extent    that .it seeks information not relevant to this litigation nor reasonably calculated to
      9     lead to the discovery of admissible evidence.
  !0                  Without waiving and subject to the objections, Intervenor-Defendant responds that
  11        from January 1, 1995 until present, no one has had their release from any jail. operated
  12       and/or maintained by Intervenor-Defendant accelerated as a result of any limit(s) placed
  13       on    the number of people that can be housed in that jail.
  14       INTERROGATORY NO. 4:
  15                  What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
  16       January 1, 1995 until present, in any county in which YOU operate and/or maintain a
  17       jail?
                             (a)    For each such program, describe the mission and/or purpose of the
-19        placement program.
 20                     (b) For each. such program, identify what criteria are used to decide who
 21        may enter the program.
 22                          (c)    Identify all DOCUMENTS which relate to YOUR answer.
 23                          (d)    Identify all PERSONS whom YOU believe or suspect have
 24        information to     Support YOUR     answer.

 25        RESPONSE TO INTERROGATORY NO. 4:
 26                  In addition to the General Objections stated above, Intervenor-Defendant objects
 27        to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
 28        extent that it seeks information not relevant to this litigation nor reasonably calculated to

           INTERVENOR•DEFENDAN•F SAN MATEO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS'FIRST SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                   Document 3436-4            Filed 12/23/08        Page 3 of 5



          lead to the discovery of admissible evidence.
      2           Without waiving and subject to the objections, In£ervenor-Defendant responds thal
      3   from January    1, 1995 until present, the County utilizes an Electronic Monitoring System.
      4           (a) Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
      5   Electronic Monitoring Program (EMP) Candidate Cheat Sheet and San Marco County
      6   Sheriff's Office Electronic Monitoring Program Policy and Procedures Manual.
      7           (b) Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
      8   Electronic Monitoring Program (EMP) Candidate Cheat Sheet and San Mateo County
      9   Sheriff's Office Electronic Monitoring Program Policy and Procedures Manual.
  10              (c) See documents tit!ed Electronic Monitoring Program (EMP) Candidate
  11      Cheat Sheet and San Mateo County Sheriff's Office Electronic Monitoring Program
  12      Policy and Procedures Manual.
  13               (d) Greg Yrindle.
 14                Without waiving and subj ect to the objections, Intervenor-Defendant responds that
 15       from January 1, 1995 until present, the County.utilizes the Sherriff's Work Program.
 16               (a) Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
 17       Sheriff's Work Program (SWP) Candidate Cheat Sheet and Sheriff's Work Program
 18       Policy and Procedures Manual.
 19               (b) Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
 20       Sheriff's Work Program (SWP) Candidate Cheat Sheet and Sheriff's Work Program
 21       Policy and Procedures Manual.
 22               (c)     See documents titled Sheriff's Work Program (SWP) Candidate Cheat
 23       Sheet and Sheriff's Work Program Policy and Procedures Manual.
 24               (d) Greg Trindle.
 25               Without waiving and subject to the objections, Intervenor-Defendant responds that
 26       from January 1, 1995 until present, the County utilizes a Work Furlough Program.
 27             (a)    Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
 28       Work Furlough (WF) Candidate Cheat Sheet and Work Furlough Program Policy and
                                                           -6-
          INTERVENOR-DEFENDANT SAN MATEO COIJNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                     Document 3436-4           Filed 12/23/08          Page 4 of 5


              Procedures Manual•
        2            (b)      Pursuant to Federal Rules of Ci'¢il Procedure 33 (d) see documents titled
        3     Work Furlough (WF) Candidate Cheat Sheet and Work Furlough Program Policy and
       4     Procedures Manual.
       5             (c) See documents titled Work FUrlough (WF) Candidate Cheat Sheet and
       6     Wor. k Furlough Program Policy and Procedures Manual.
       7             (d) Greg Trindle.
       8             Without waiving and subject tothe objections, Intervenor-Defendant responds that
       9.    between 1997 and 2003 the County utilized SherifFs Parole.
  10                 (a)     Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
  11         San Mateo     County Parole and its attachments.
  12                (b)      Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
  13         San Mateo     County Parole and its attachments,
  14                (c)      See documents titled San Mateo        County Parole and its attachments.
  15                (d)Greg Trindle.
   16           Without waiving and subject to the objections, Intervenor-Defendant responds tha
   17 from January 1, 1995 until present, the County utilizes Re-Entry Program.
                                                                 a

   18           (a) Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
  19 Inmates Services & Case Managemenr for Re-Entry.
  20           (b) Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
  21   Inmates Services & Case Management for Re-Entry.
  22           (c) See documents titled Inmates Services & Case Management for Re-Entry.
  23           (d) Greg Trindle.
  24           Without waiving and subject to the objections, Intervenor-Defendant responds that
 25 from January 1• 1995 until present, the County utilizes Mentally Ill Offender Crime
                                                               a

 26 Reduction Grant (MIOCR) Program.
 27           (a) Pursuant to Federal Rules of Civil Procedure 33 (d) see documents titled
 28   Resolution Accepting the Mentally Ill Offender Crime Reduction Grant from the State
                                                             -7-
            INfERVENOR-DEFENDANT SAN MATEO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST
                                                                                             SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                          Document 3436-4             Filed 12/23/08         Page 5 of 5


            1    Board of Corrections and memo from Sheriff Greg Munks to County Board of
           2      Supervisors dated May 21, 2007.
           3             (b) Pursuant to Federal Riules of Civil Procedure 33 (d) see documents titled
           4     Resolution Accepting the Mentally Ill Offender Crime Reduction Grant from the State
           5     Board of Corrections and memo from Sheriff Greg Munks to County Board of
           6     Supervisors dated May 21, 20071
                         (c)   See documents titled Resolution Aceepting theMentally Ill Offender Crime
        8        Reduction Grant from the State Board of Corrections andmemo from Sheriff Greg
        9        Munks to County Board of Supervisors dated May 21, 2007.
      10                (d) Greg Trindle.
      11
   12           DATED         April 1,2008                        Respectfully submitted,
                                                                  JONES & MAYER
   13
   14
                                                                  By:
   15                                                                     Ivy M•l•saT
   16
                                                                          Attorneys for Sheriff, Probation, .Police-
                                                                          Chief, and Corrections Intervenor-
  17
                                                                          Defendants.

  18
  19
  20
 21
 22
 23
 24
 -25
 26
 27
 28
                                                                   -8-
                INTERVENOR•DEI,P.;NDANT SAN MATEO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST. SET OF INTERROGATORIES
